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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

IN RE:                                    §             Case No. 22-60043
                                          §
FREE SPEECH SYSTEMS, LLC,                 §             Chapter 11 (Subchapter V)
                                          §
       Debtor                             §

            NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

       TO ALL PARTIES, PLEASE TAKE NOTICE that Richard M. Coan, as Chapter 7

Trustee to the Estate of Erica Lafferty (Coan), by and through the undersigned counsel,

files this Notice of Appearance and Request for Service in the above-captioned case,

pursuant to Rules 2002, 3017, 9007, and 9010 of the Federal Rules of Bankruptcy

Procedure and 11 U.S.C. §§ 102(1), 342, and 1109(b) and requests that copies of all notices

and pleadings given or filed in this bankruptcy case be given and served upon the Coan

by serving:

              Ryan E. Chapple
              State Bar No. 24036354
              rchapple@cstrial.com
              CAIN & SKARNULIS PLLC
              303 Colorado Street, Suite 2850
              Austin, Texas 78701
              512-477-5000
              512-477-5011—Facsimile

       PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only

the notices and papers referred to in the Rules specified above, but also includes, without

limitation, all orders, notices, hearing dates, applications, motions, petitions, requests,

complaints, demands, replies, answers, schedule of assets and liabilities, statement of

affairs, operating reports, plans of reorganization, and disclosure statements, whether




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formal or informal, whether written or oral, and whether transmitted or conveyed by mail,

courier service, delivery, telephone, facsimile, telegraph, telex, telefax or otherwise.

       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request

for Service is not intended as consent pursuant to 28 U.S.C. § 157(c)(2) or waiver of:

(1) the liquidation or estimation of unliquidated claims for purposes of distribution,

reserved for Article III adjudication pursuant to 28 U.S.C. § 157(b)(2)(B); (2) the right to

trial by jury pursuant to 28 U.S.C. § 1411; (3) the right to contest jurisdiction or

appropriate venue; and (4) any other rights, claims, actions, or defenses in law, in equity,

or otherwise that may be available under applicable law, which Coan expressly reserves.

       Respectfully submitted this 10th day of March 2023.


                                                  /s/ Ryan E. Chapple
                                           Ryan E. Chapple
                                           State Bar No. 24036354
                                           rchapple@cstrial.com
                                           CAIN & SKARNULIS PLLC
                                           303 Colorado Street, Suite 2850
                                           Austin, Texas 78701
                                           512-477-5000
                                           512-477-5011—Facsimile
                                           ATTORNEY FOR RICHARD M. COAN,
                                           AS CHAPTER 7 TRUSTEE FOR
                                           THE ESTATE OF ERICA LAFFERTY




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                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice of Appearance
and Request for Service has been served on counsel for Debtor, Debtor, and all parties
receiving or entitled to notice through CM/ECF on this 10th day of March 2023.


                                               /s/ Ryan E. Chapple
                                         Ryan E. Chapple




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